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FILED

DEC 2 0 2017
UNITED STATES DISTRICT coURT

Clerk, U.S. District & Bankruptcy
F()R THE DISTRICT OF COLUMBIA Cour!s forthe Districtof Co|umbia

 

 

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iN RE REQUEST FRoM sWiTzERLAND ) Case; 1;17-me-03360 _
PURSUANT TO THE TREATY BETWEEN ) Assigned To ; Meriweather, Rob\n M_
THE UNITED sTATES AND szTZERLAND ) Assign, gate ; 12/18/2017
oN MUTUAL LEGAL AsslSTANCE IN ) Description-_ Mise_
CRIMINAL MATTERS )
{PRePos-EejoRDER

Upon application of the United States, in execution of the request from Switzerland dated
May 23, 2017, seeking evidence under the Treaty Between the Government of the United States
of Arnerica and the Government of the Swiss Confederation on Mutual Assistance in Criminal
Matters, U.S.-Switz., May 25, 1973, 27 U.S.T. 2019, (hereinafter “the 'l`reaty”), for use in a
criminal investigation, and the Court, having fully considered this matter:

HEREBY ORDERS, pursuant to the authority conferred by the Treaty and 18 U.S.C.
§ 3512, as well as this Court’s inherent authority, that United States Depaitment of Justice
Attorney ALLISON ICKOVIC is appointed as commissioner of this Court and is hereby directed
to execute the Treaty request and any subsequent, supplemental requests made by Switzerland in
this matter? and to take such steps as are necessary to collect the evidence requested In doing so,
the connnissioner:

l. may issue coinmissioner’s subpoenas to be served at any place Within the United
States on persons (natural and legal) ordering them or their representatives to appear and to testify

and produce evidence located Within the United States;

 

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2. shall provide notice with respect to the collection of evidence to those persons
identified in the request as parties to whom notice should be given (and no notice to any other
party shall be required);

3. shall adopt procedures to collect the evidence requested consistent with its use in
the investigation, prosecution, or other proceeding in Switzerland for which the Public
Prosecutor’s Office in the Canton of Zug, has requested assistance through the Swiss Central
Authority, which procedures may be specified in the request or subsequent requests in this matter
or provided by or with the approval of the United States Department of J'ustice, Criminal Division,
Office of lntemational Affairs, under the Treaty;

4. may, in collecting the evidence requested, be accompanied by persons whose
presence or participation is authorized by the commissioner, including, without limitation, special
agents of U.S. law enforcement agencies and/or representatives of SwitZerland, who, as authorized
or directed by the commissioner, may direct questions to any witness;

5. may seek such further orders of this Couit as may be necessary to execute this
request or subsequent requests in this matter, including orders to show cause why persons served
with commissioner’s subpoenas who fail to produce evidence should not be held in contempt, and
including protective orders to regulate the use of the evidence collected;

6. shall transmit the evidence collected to the Office of International Affairs, or as
otherwise directed by that Office, for transmission to Switzerland, without prejudice to the ability
of the United States to retain or use such evidence in a U.S. proceeding; and

7. may provide copies of the evidence collected to persons identified in the request or

subsequent requests in this matter as parties to whom such copies should be given, and to U.S. law

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enforcement and attorneys for the United States, as well as contract and support personnel working
With thein.

IT lS FURTHER ORDERED that any person from whom the commissioner seeks to
collect evidence may, for good cause shown, oppose the giving of evidence, or the circumstances
thereof, by motion timely filed with this Court, a copy of which shall be provided
contemporaneously to the commissioner

IT lS FURTHER ORDERED that persons, natural or legal, who receive or have knowledge
ol` a coinmissionei"s subpoena (or other order) served in connection with this matter, shall not
disclose any aspect of this matter, including the fact that they have received a subpoena or have

given testimony or evidence in response thereto.

Date:i'Z/lcl//q' %V\MQQW

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Robin Nl. Meriweather
United States Magistrate Judge

